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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                EASTERN DIVISION

CHRISTOPHER EVAN EASTER                                                       PLAINTIFF

V.                                             CIVIL ACTION NO.: 1:20-CV-254-GHD-DAS
ITAWAMBA COUNTY, MISSISSIPPI;
SHERIFF CHRIS DICKINSON, individually and
In his official capacity as Sheriff of Itawamba
County, Mississippi;
ITAWAMBA COUNTY SHERIFF’S DEPARTMENT;
AND JOHN DOES 1-10; individually and
In their official capacities as officers of Itawamba
County, Mississippi                                                   DEFENDANTS

MEMORANDUM OF AUTHORITIES IN SUPPORT OF PLAINTIFF’S RESPONSE TO
  MOTION FOR JUDGMENT ON THE PLEADINGS FOR CERTAIN FEDERAL
                  CLAIMS AND DEFENDANTS


       COMES NOW, Plaintiff, EVAN EASTER, by and through counsel, and files this his

Memorandum of Authorities in Support of Plaintiff’s Response to Motion for Judgment on the

Pleadings for Certain Federal Claims and Defendants, filed by the Defendants and would show

unto the Court the following:

                                              FACTS

       As set forth in Plaintiff’s Complaint, while incarcerated in the Itawamba County Jail he

was chained to a chair, struck, choked, had his genitals torqued to the point he vomited and made

to lose consciousness; resulting in the chair falling over and Plaintiff being injured to his head

and face. After Plaintiff was returned to the jail from a hospital in Amory, Mississippi, he was

held in solitary confinement until his bruising healed. After his bruises had become less

noticeable, he was transferred to the Tishomingo County Jail, which was instructed to keep him

under an investigative hold and not allow him contact with anyone outside the jail.
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                                   STANDARD OF REVIEW

       The standard for reviewing a Rule 12 (c ) motion is the same as that for a motion pursuant

to Rule 12 (b)(6). In re Great Lakes Dredge & Dock Co., 524 F.3d 201, 209-10 (5th Cir. 2010). A

Rule 12(b)(6) motion is disfavored and is rarely granted. Sosa v. Coleman, F.2d 991, 993 (5th Cir.

1981). In Cook v. Nichol, Inc. v. Plimsoll Club, 451 F2d. 505, 506 (5th Cir. 1971), the Fifth Circuit

clearly stated, “a motion to dismiss for failure to state a claim should not be granted unless it

appears to a certainty that the plaintiff would not be entitled to recover under any state of facts

which could be provided to support his claim.” Thus, the issue present by a motion to dismiss is

“not whether the plaintiff will ultimately prevail but whether the claimant is entitled to offer

evidence to support the claims.” Scheuer v. Rhodes, 416 U.S. 232, 236 (1974). Dismissal,

therefore, “is never warranted because the plaintiff is unlikely to prevail on the merits.” In re:

Catfish Litigation, 826 F.Supp. 1019, 1024 (N.D. Miss. 1993).

       Even if it appears, to an almost certainty, that the facts alleged cannot be proven to support

the claim, the complaint cannot be dismissed so long as it states a claim. Clark v. Amoco

Production Co., 794 F.2d 967, 970 (5th Cir. 1986). “To qualify for dismissal under Rule 12(b)(6),

a complaint must on its face show a bar to relief.” Id. at 970; See also Mahone v. Addicks Utility

District of Harris County, et al., 836 F.2d 921, 926 (5th Cir. 1988); U.S. v. Uvalde Consol.

Independent School Dist., 625 F.2d 547, 549 (5th Cir. 1980).

       In ruling on a motion to dismiss, this Court must accept the facts alleged in the complaint

as true and view the material allegations “as admitted” along with such reasonable inferences that

might be drawn in the plaintiff’s favor. Garguil v. Tompkins, 704 F.2d 661, 663 (2nd Cir. 1983)

Dismissal is appropriate only when the court accepts as true all the well-pled allegations of fact

and “it appears beyond doubt that the [plaintiff] can prove no set of facts in support of his claim
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which would entitle him to relief.” Thomas v. Smith, 897 F.2d 154, 156 (5th Cir. 1989) (quoting

Conley v. Gibson, 355 U.S. 41, 45-46 (1957)). See also Hishon v. King & Spaulding, 467 U.S, 69,

73 (1984); McLean v. International Harvester Co., 817 F.2d 1214, 1217 n. 3 (5th Cir. 1987); Jones

v. U.S., 729 F.2d 326, 330 (5th Cir. 1984). “If it is possible to hypothesize a set of facts consistent

with the complaint that would entitle the plaintiff to relief, dismissal under Rule 12(b)(6) is

inappropriate.” Veazey v. Communication and Cable of Chicago, Inc., 194 F.3d 850, 854 (7th Cir.

1999).

         Finally, even if Plaintiff’s complaint is deficient, Plaintiff should be permitted to amend

her complaint or it is reversible error. Brown v. Texas A&M University, 804 F.2d 327, 334 (5th Cir.

1986) (citing Jacquez v. Procunier, 801 F.2d 789, 791 (5th Cir. 1986)).

                                          ARGUMENTS

SHERIFF’S DEPARTMENT

         Defendants have filed their Motion on the grounds that the Itawamba County Sheriff’s

Department is not subject to suit, and that Plaintiff has made no showing that a sheriff’s

department has no separate legal existence apart from the county. Plaintiff, out of an abundance

of caution, and in reliance on Oden v. Oktibbeha County, Miss., 246 F.3d 458, 464 FN. 3 (5th Cir.

2001), named the Itawamba County Sheriff’s Department as a Defendant. The Fifth Circuit

wrote in Footnote 3: “In any event, there is no evidence in the record that the promotion to chief

deputy was in accordance with any custom or policy of the County. Rather, Sheriff Bryan’s

employment decision represented the policy of the Sheriff’s Department, a separate government

entity. Therefore, the judgment against the County cannot be imposed on the basis of respondent

superior.”

SHERIFF DICKINSON IN HIS OFFICIAL CAPACITY
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       Plaintiff will abandon his claims against Sheriff Dickinson in his official capacity only.

SHERIFF DICKINSON IN HIS INDIVIDUAL CAPACITY

       Defendant asked the Court to grant judgment on the pleadings as to Plaintiff’s claim

against Sheriff Chris Dickinson in his individual capacity; stating that Plaintiff has alleged no

“direct participation” by Sheriff Dickinson in any violation of Plaintiff’s rights. Plaintiff has also

sued John Does 1-10, because without discovery Plaintiff has no opportunity to discover

everyone who was involved in his jail beating or to what extent each person was involved. In this

case, Plaintiff has alleged that Defendants moved him to the Tishomingo County Jail and

restricted his ability to contact anyone in an attempt to conceal his beating. As will de discussed,

infra, regarding Plaintiff’s state law claims, Sheriff Dickinson may still be held liable in his

individual capacity if discovery reveals his participation in the attack and following cover up.

Plaintiff should be allowed to conduct discovery on this issue.

EIGHTH AMENDMENT

       Defendant seeks judgment on the pleadings for Plaintiff’s claims pursuant to the Eighth

Amendment asserting that Plaintiff was a pretrial detainee. Plaintiff’s status in the Itawamba

County Jail has not been determined. It would be premature to dismiss this claim without

allowing Plaintiff to conduct discovery on this issue.

STATE LAW CLAIMS

       Defendant seeks judgment on the pleadings as to Plaintiff’s supplemental state law

claims. Defendant argues that Plaintiff did not serve Defendants with a Notice of Claim. This is

not true. See Exhibit “A” to Plaintiff’s Response in Opposition to Defendant’s Motion for

Judgment on the Pleadings for Certain Federal Claims and Defendants. Also, Defendant urges
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that all of Plaintiff’s state law claims are governed by the MTCA and, as such, Defendants are

immune from Plaintiff’s claims. The MTCA only grants immunity when a public official or

employee is acting within the course and scope of his employment. However, “public officials

lose their qualified immunity when they exceed the scope of their authority, commit an

intentional tort, or commit a tort outside the scope of their public office.” Raju v. Rhodes, 7 F.3d

1210, 1216 (5th Cir. 1993)(Citing Grantham v. Mississippi Dep’t of Corrections, 522 So.2d 219,

225 (Miss. 1988)); see also Miss. Code Ann. §11-46-7(2).

                                          CONCLUSION

          For all the reasons stated herein, Plaintiff requests the Court deny Defendant’s Motion

for Judgment on the Pleadings for Certain Federal Claims and Defendants on all counts except

for Plaintiff’s claims against Sheriff Dickinson in his official capacity.




                                                       Respectfully submitted,

                                                       _/s/ Diana Worthy
                                                       Diana Worthy
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                                                       /s/ Brent McBride
                                                       Brent McBride, Esq.
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                                CERTIFICATE OF SERVICE


       I, Diana Worthy and Brent McBride, attorneys for Plaintiff, do hereby certify that on
May 17, 2021, I electronically filed the foregoing with the Clerk of the Court, using the ECF
system which sent notification to the following:


TO: Mary McKay Griffith
mgriffith@jlpalaw.com

Daniel J. Griffith
dgriffith@jlpalaw.com



       SO CERTIFIED, the 17th day of May, 2021.


                                             /s/ Diana Worthy
                                             DIANA WORTHY

                                             /s/ Brent McBride
                                             Brent McBride, Esq.
